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15                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
16                                   SAN FRANCISCO DIVISION
17
18                                                          Case No. 3:25-cv-1780-WHA
     AMERICAN FEDERATION OF
     GOVERNMENT EMPLOYEES, et al.
19                                                           DEFENDANTS’ UNOPPOSED
              Plaintiffs,                                    ADMINISTRATIVE MOTION FOR
20                                                           LEAVE TO EXCEED PAGE
21                    v.                                     LIMITATIONS FOR SUPPLEMENTAL
                                                             BRIEF ON ADMINISTRATIVE
22   UNITED STATES OFFICE OF PERSONNEL                       CHANNELING
     MANAGEMENT, et al.,
23
               Defendants.                                   The Hon. William H. Alsup
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     Defendants’ Unopposed Administrative Motion for Leave to Exceed Page
     Limitations for Supplemental Brief on Administrative Channeling
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 1           Pursuant to Local Civil Rule 7-4(b) and 7-11 and good cause shown herein, Defendants
 2   move unopposed for leave to exceed the page limitations for Defendants’ forthcoming
 3   supplemental brief on channeling. In support of this motion, Defendants state as follows:
 4           1.      This Court directed the parties to file supplemental briefing of up to ten pages in
 5   length on whether the MSPB and FLRA remained “effective channel[s]” for federal employees
 6   to litigate their terminations at its March 13, 2025, hearing. Tr. of March 13, 2025, 54:23–56:9,
 7   56:8-9 ECF No. 120.
 8           2.      Defendants have been diligently preparing their supplemental channeling brief. In
 9   order to adequately represent their position, Defendants have determined that they will need to
10   file a brief of up to twelve pages in length. See Decl. of James D. Todd, Jr. ¶ 2, attached as Ex. 1
11           3.      This Court’s Local Civil Rules allow a party to file a brief in excess of the Court’s
12   page limitations if requested by administrative motion prior to the due date. See Civil L.R.
13   7-4(b), 7-11.
14           4.      Defendants contacted Plaintiffs counsel about this administrative motion for leave
15   to exceed the Court’s page limitations. See Todd Decl. ¶ 3. Plaintiffs indicated that they do not
16   oppose this motion provided that they may also file a supplement brief on channeling of up to
17   twelve pages in length. Defendants agreed to represent Plaintiffs’ position to the Court. See id.
18                                               CONCLUSION
19           For good cause shown above, this Court should grant Defendants’ unopposed
20   administrative motion to exceed page limitations and allow the parties to file supplemental
21   channeling briefs of up to twelve pages in length.
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 1   Dated: March 21, 2025                            Respectfully submitted,
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11                                                    s/ James D. Todd, Jr.
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